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11                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
12

13   HELENA PHILLIPS, an individual; CELESTE     ) Case No.: '22CV1214 AJB BLM
     GIRON, an individual; SPENCER MAKI, an      )
14   individual; JULES SANTOS, an individual; and) CLASS ACTION
     DIANE WHITE, an individual, on behalf of    )
15   themselves and all others similarly situated)
                                                 ) DEMAND FOR JURY TRIAL
16                  Plaintiffs,                  )
                                                 )
17                                               )
             v.                                  )
18                                               )
     STERLING JEWELERS, INC, a Delaware          )
19   corporation; SIGNET JEWELERS LIMITED, a )
     foreign corporation; and DOES 1 through 10, )
20   Inclusive,                                  )
                                                 )
21                                               )
                    Defendants.                  )
22                                               )
                                                 )
23                                               )
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24                                               )
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25                                               )
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26                                               )
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27                                               )
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28                                               )
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 1              Plaintiffs HELENA PHILLIPS, CELESTE GIRON, SPENCER MAKI, JULES SANTOS,

 2   and DIANE WHITE (“Plaintiffs”), by and through their attorneys, bring this action on behalf of

 3   themselves, and all other similarly situated non-exempt employees who are or were employed in

 4   California by STERLING JEWELERS, INC. (“Sterling”), SIGNET JEWELERS LIMITED

 5   (“Signet”), and DOES 1 through 10, inclusive (collectively, “Defendants”) between October 9, 2019

 6   through the date of final disposition of this action. Plaintiffs hereby allege, on information and belief,

 7   except for information based on personal knowledge, which allegations are likely to have evidentiary

 8   support after further investigation and discovery, as follows:

 9                                                    INTRODUCTION
10
                1.     This California-based class action is brought on behalf of Plaintiffs and the Class 1
11
     because of Defendants’ systematic mistreatment of their employees, in violation of California’s wage
12
     and hour laws.
13
                2.     Defendants operate retail jewelry stores under a number of names in the State of
14
     California, including Jared The Galleria of Jewelry and Kay Jewelers and employ numerous
15
     employees in those retail stores.
16
                3.     Employees at those retail stores are compensated through the payment of both hourly
17
     wages and commissions. However, while employees regularly receive commissions, Defendants did
18
     not include those amounts in their regular rate of pay when calculating overtime pay, sick and vacation
19
     pay, as well as meal and rest period premiums when such premiums were actually paid.
20
                4.     Further, Defendants regularly failed to provide employees with meal breaks, failed to
21
     authorize and permit rest breaks, and failed to provide meal and rest break premiums in lieu of such
22
     breaks.
23
                5.     Additionally, employees were required to work off-the-clock and were also not
24
     reimbursed for required business expenses.
25
                6.     Finally, Defendants failed to provide accurate wage statements and maintain adequate
26
     records and failed to pay all wages owed upon termination of employment.
27

28
     1
         The “Class” and “Sub-Classes” are defined in paragraphs 42-46.
                                                             2
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 1           7.     Upon information and belief, the above practices are still ongoing.

 2           8.     In order to redress the harms suffered, Plaintiffs, on behalf of themselves and the Class,

 3   bring claims associated with Defendants’ violations of the California Labor Code and applicable IWC

 4   Wage Order, including: (1) failure to pay vacation pay, sick pay, overtime pay, meal period premiums

 5   and rest break premiums at the correct legal rate; (2) failure to pay all minimum, regular rate and

 6   overtime wages for off-the-clock work; (3) failure to provide meal periods in violation of Labor Code

 7   §§226.7 and 512; (4) failure to provide rest periods in violation of Labor Code §226.7; (5) failure to

 8   reimburse for required business expenses; (6) failure to provide accurate wage statements in violation

 9   of Labor Code §226; (7) failure to timely pay wages when due at termination in violation of Labor
10   Code §§201 and 202; and (8) violation of the Unfair Competition Law (“UCL”) pursuant to Business
11   & Professions Code §17200, et seq.
12

13                                       JURISDICTION AND VENUE

14           9.     This Court has personal jurisdiction over Defendants because Defendants have

15   conducted and continue to conduct substantial business in the State of California, employ numerous

16   individuals in California, and have intentionally availed themselves of the laws and markets of

17   California through the operation of their business in California.

18           10.    This court has subject matter jurisdiction pursuant to the Class Action Fairness Act,

19   28 U.S.C. 1332(d), as Plaintiffs (California) and Defendants (Ohio) are diverse, there are over 100

20   class members, and the amount in controversy exceeds $5 million.

21           11.    Venue is proper in this Court because Defendants employ numerous individuals in

22   this District, including Plaintiff Helena Phillips, and a substantial portion of the acts giving rise to

23   this action occurred in this District.

24                                                  PARTIES

25       A. PLAINTIFFS

26           12.    Plaintiff HELENA PHILLIPS is an individual over the age of eighteen years, and at all

27   times relevant herein was and is, a resident of the County of San Diego in the State of California.

28           13.    During the Class Period, Plaintiff Phillips worked as a non-exempt employee at a Jared

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 1   The Galleria of Jewelry (“Jared”) retail store in National City, California, which is operated by

 2   Defendant Sterling, a subsidiary of Defendant Signet. Plaintiff Phillips was employed by Defendants

 3   from in or around 2012-2013 through in or around May 2021.

 4          14.    Plaintiff JULES SANTOS is an individual over the age of eighteen years, and at all

 5   times relevant herein was and is, a resident of the County of Orange in the State of California.

 6          15.    During the Class Period, Plaintiff Santos worked as a non-exempt employee at a Jared

 7   The Galleria of Jewelry (“Jared”) retail store in Cerritos, California, which is operated by Defendant

 8   Sterling, a subsidiary of Defendant Signet. Plaintiff Santos has been employed by Defendants since

 9   in or around October 2020 and is still currently employed.
10          16.    Plaintiff DIANE WHITE is an individual over the age of eighteen years, and at all times
11   relevant herein was and is, a resident of the County of Sonoma in the State of California.
12          17.    During the Class Period, Plaintiff White worked as a non-exempt employee at a Kay
13   Jewelers (“Kay”) retail store in Santa Rosa, California, which is operated by Defendant Sterling, a
14   subsidiary of Defendant Signet. Plaintiff White has been employed by Defendants since in or around
15   October 2010 and is still currently employed.
16          18.    Plaintiff SPENCER MAKI is an individual over the age of eighteen years, and at all
17   times relevant herein was and is, a resident of the County of Orange, in the State of California.
18          19.    During the Class Period, Plaintiff Maki worked as a non-exempt employee at a Jared

19   The Galleria of Jewelry (“Jared”) retail store in Brea, California, which is operated by Defendant

20   Sterling, a subsidiary of Defendant Signet. Plaintiff Maki was employed by Defendants from in or

21   around July 2015 through June 25, 2022.

22          20.    Plaintiff CELESTE GIRON is an individual over the age of eighteen years, and at all

23   times relevant herein was and is, a resident of the County of Orange in the State of California.

24          21.    During the Class Period, Plaintiff Giron worked as a non-exempt employee at Jared

25   The Galleria of Jewelry (“Jared”) retail stores in Cerritos, California and Costa Mesa, California,

26   which are operated by Defendant Sterling, a subsidiary of Defendant Signet. Plaintiff has been

27   employed by Defendants since in or around November 2014 and is still currently employed.

28

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 2      B. DEFENDANTS

 3          22.       Defendant Sterling is a Delaware Corporation with its headquarters in the State of Ohio.

 4          23.       Defendant Signet is a foreign corporation with its principal place of business in the

 5   State of Ohio.

 6          24.       On information and belief, Defendants are doing business in the State of California,

 7   including but not limited to the County of San Diego.

 8          25.       On information and belief, Defendants operate retail jewelry stores under a number of

 9   names in the State of California, including Jared The Galleria of Jewelry and Kay Jewelers, and
10   employ numerous employees in those retail stores.
11          26.       Based on information and belief, Defendants had the authority to, directly or indirectly,
12   or through an agent or other person, employ or exercise control over Plaintiffs’ and the Class’s wages,
13   hours, and working conditions.
14          27.       Based on information and belief, Defendants had knowledge of the wage-and-hour
15   violations alleged herein and each defendant had the power to prevent the violations from occurring.
16   Having knowledge of the wage-and-hour violations set forth in this Complaint, Defendants could
17   have but failed to prevent the violations from occurring.
18          28.       Plaintiffs do not know the true names and capacities of Defendants sued herein as

19   DOES 1 through 10, and therefore sue these Defendants by such fictitious names. Plaintiffs will

20   amend this Complaint to allege the true names and capacities when they are ascertained.

21          29.       Plaintiffs believe and thereon allege that each “Doe” Defendant is responsible in some

22   manner for the occurrences herein alleged, and Plaintiffs’ injuries and damages as herein alleged are

23   directly, proximately and/or legally caused by Defendants and their acts.

24          30.       Plaintiffs are informed and believe and thereon allege that the aforementioned DOES

25   are somehow responsible for the acts alleged herein as the agents, employers, representatives or

26   employees of other named Defendants, and in doing the acts herein alleged were acting within the

27   scope of their agency, employment or representative capacity of said named Defendants.

28          31.       The tortious acts and omissions alleged herein were performed by Defendants’

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 1   management level employees. Defendants allowed and/or condoned a continuing pattern of unlawful

 2   practices in violation of the California Labor Code, and have caused, and will continue to cause,

 3   Plaintiffs’ economic damage in an amount to be proven at trial.

 4                          FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

 5          32.     Defendants operate retail jewelry stores under a number of names in the State of

 6   California, including Jared The Galleria of Jewelry and Kay Jewelers. On information and belief,

 7   despite the multiple business names, the operations of each store owned and operated by Defendants

 8   in the State of California are subject to the same employment policies, practices, and procedures. All

 9   retail employees are provided with the same employment manuals and, upon information and belief,
10   their wage statements all say Sterling and/or Signet.
11          33.     Throughout Plaintiffs’ employment, they were non-exempt employees and were
12   compensated by the payment of hourly wages and commissions.
13          34.     When they were paid commissions, Defendants did not provide them with an
14   explanation of how those numbers were reached, but rather their wage statements listed just the type
15   of commission and the total amount they earned. As a result, Plaintiffs could not determine from their
16   wage statements the basis for Defendants’ payment of commissions. Further, Defendants never
17   provided Plaintiffs with written commission agreements as required by the Labor Code.
18          35.     Additionally, despite paying Plaintiffs commissions on a regular basis, Defendants did

19   not include such payments in the calculations of their regular rate of pay and therefore did not pay

20   Plaintiffs the proper rates for overtime, sick pay and vacation pay.

21          36.     Defendants also regularly failed to provide Plaintiffs with timely and compliant meal

22   periods and failed to authorize or permit rest periods. Defendants also failed to provide any premium

23   payments in lieu thereof. On the rare occasions that Defendants may have paid a premium, it was not

24   paid at the proper rate of pay because Defendants did not include commissions when calculating their

25   regular rate of pay.

26          37.     In addition, Plaintiffs were regularly required to perform work off-the-clock in various

27   manners, including but not limited to:

28                a. Plaintiffs working through meal breaks or meal breaks being interrupted while

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 1                   clocked-out for said meal breaks;

 2                b. Plaintiffs being required to work several minutes off the clock before or after shifts to

 3                   engage with security;

 4                c. Plaintiffs being required attend meetings during off hours and off-the-clock;

 5                d. Plaintiffs taking phone calls and other communications from co-workers and

 6                   customers to conduct sales or follow-up on sales in off hours and off-the-clock; and

 7                e. Plaintiffs being required to conduct social media campaigns on their private social

 8                   media accounts in off hours and off-the-clock.

 9          38.     Furthermore, Defendants required Plaintiffs to use their personal phones for work
10   purposes. Specifically, they were required to download and utilize apps for work purposes and to
11   communicate with customers through their personal phones. Defendants did not reimburse Plaintiffs
12   for the use of their personal phones.
13          39.     When Plaintiffs Phillips and Maki’s employment with Defendants ended. Defendants
14   failed to pay those Plaintiffs all money they were owed, as a result of not paying them for off-the-
15   clock work, not including commissions in the regular rate of pay and not paying meal and rest break
16   premiums as alleged above.
17          40.     Plaintiffs are informed and believe that the above practices they experienced were not
18   unique to them but rather were companywide policies and practices at all retail stores in the State of

19   California and were suffered by all non-exempt employees.

20          41.     Plaintiffs are informed and believe that the unlawful wage and hour policies described

21   in this action are set centrally and are applicable through-out the fleet of stores and jewelry selling

22   operations across California.

23                                        CLASS ACTION ALLEGATIONS

24          42.     Plaintiffs bring this class action pursuant to Rule 23(a) and (b)(3) of the Federal Rules

25   of Civil Procedure, on behalf of the following Class:

26                  All Non-Exempt current and former employees of Defendants who were

27                  employed in California during the Class Period.

28          43.     “Non-Exempt” means employees that are not exempt from California wage and hour

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 1   laws pursuant to Labor Code §515(a); 8 Cal. C. Regs. §11010, et seq.

 2           44.     “Class Period” means the period from October 9, 2019 through the date of final

 3   disposition of this action.

 4           45.     Excluded from the Class are Defendants, their officers and directors, families and legal

 5   representatives, heirs, successors, or assigns and any entity in which Defendants have a controlling

 6   interest, and any Judge assigned to this case and their immediate families.

 7           46.     The Class is comprised of the following Sub-Classes:

 8                    Jared Class

 9                    All Non-Exempt current and former employees of Defendants who
10                    were employed in California at a Jared store during the Class Period.
11                    Kay Class

12                    All Non-Exempt current and former employees of Defendants who

13                    were employed in California at a Kay store during the Class Period.

14

15           47.     Plaintiffs reserve the right to amend or modify the respective definitions of the Class

16   and/or Sub-Classes to provide greater specificity and/or further division into subclasses or limitation

17   to particular issues.

18           48.     Numerosity- Fed. R. Civ. P. 23(a)(1): The members of the Class are so numerous that

19   joinder of all members is impracticable. The exact number or identification of class members is

20   presently unknown, but it is believed that there are several thousand class members in the Class. The

21   identity of the Class Members is ascertainable and can be determined based on records maintained by

22   Defendants.

23           49.     Predominance of Common Questions- Fed R. Civ. P. 23(a)(2), 23(b)(3): There are

24   multiple questions of law and fact common to the Class that will predominate over questions affecting

25   only individual class members. The questions of fact that are common to the Class members and

26   predominate over questions that may affect individual Class members, include, whether Defendants:

27                 a) Failed to pay Plaintiffs and members of the Class all of their earned wages and

28                    compensation;

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 1                b) Failed to authorize and permit Plaintiffs and members of the Class to take all rest

 2                   periods to which they were entitled by the applicable laws;

 3                c) Failed to provide Plaintiffs and members of the Class the opportunity to take all meal

 4                   periods to which they were entitled by the applicable laws;

 5                d) Failed to track Class Members’ meal periods;

 6                e) Failed to pay Plaintiffs and members of the Class one hour of pay at their regular rate

 7                   of compensation for each earned rest period not permitted and/or each earned meal

 8                   period not provided;

 9                f) Failed to timely pay Plaintiffs and members of the Class all their earned wages and
10                   compensation;
11                g) Failed to furnish to Plaintiffs and members of the Class accurate, itemized wage
12                   statements compliant with Labor Code §226;
13                h) Failed to timely pay Plaintiffs and members of the Class all of their earned wages,
14                   compensation and benefits immediately upon termination of their employment or
15                   within seventy-two hours of them quitting.
16                i) Failed to reimburse employees for the use of their phones; and/or
17                j) Failed to include commissions in their calculations of the regular rate of pay.
18          50.     The questions of law that are common to the Class members and predominate over

19   questions that may affect individual Class members, include:

20                a) Whether the provisions of the Labor Code and 8 Cal. Code Regs. §11040 include the

21                   employer’s obligation to pay all earned wages and to pay all such earned wages at the

22                   time of the termination of a member of the Class’s employment;

23                b) Defendants’ legal obligation to permit members of the Class to take paid rest periods

24                   of ten (10) consecutive, uninterrupted minutes for shifts of at least four hours or major

25                   fraction thereof and a second rest period for shifts in excess of six hours;

26                c) Defendants’ legal obligation to provide members of the Class the opportunity to take

27                   meal periods of thirty (30) consecutive, uninterrupted minutes for shifts in excess of

28                   five hours and a second meal period for shifts in excess of ten hours;

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 1                d) The Class members’ entitlement to one hour of pay at the members’ regular rate of

 2                   compensation for each paid ten (10) consecutive minute, uninterrupted, rest period that

 3                   Defendants did not permit the Class members to take;

 4                e) The Class members’ entitlement to one hour of pay at his/her regular rate of

 5                   compensation for each thirty (30) consecutive minute, uninterrupted, meal period that

 6                   Defendants did not provide; and/or

 7                f) The requirements for a wage statement to be compliant with Labor Code §226; and/or

 8                g) What remedies, including restitution, compensatory damages, statutory and civil

 9                   penalties, additional wages and disgorgement of revenue, are available under
10                   California law to members of the Class who were not paid all earned wages,
11                   compensation and benefits; were not timely paid all earned minimum, regular and
12                   overtime wages, compensation and benefits; were not paid all wages and premium
13                   compensation earned at the time of the termination of their employment relationship
14                   with Defendants; were not provided lawful wage statements; were not permitted to
15                   take earned ten (10) minute rest periods; were not provided earned thirty (30) minute
16                   meal periods;
17          51.     Typicality- Fed. R. Civ. P. 23(a)(3): Plaintiffs’ claims are typical of the claims of the

18   Class because Plaintiffs and all putative Class members were subject to, and affected by, Defendants’

19   systemic policies and practices alleged herein.

20          52.     Adequacy—Fed. R. Civ. P. 23(a)(4); 23(g)(1): Plaintiffs are adequate representatives

21   of the Class because they are members of the Class and their interests do not conflict with the interests

22   of the members of the Class they seek to represent. Plaintiffs are represented by experienced and

23   competent Class Counsel. Class Counsel have litigated numerous class actions. Class counsel intend

24   to prosecute this action vigorously for the benefit of everyone in the Class. Plaintiffs and Class

25   Counsel can fairly and adequately protect the interests of all of the Members of the Class.

26          53.     Superiority—Fed. R. Civ. P. 23(b)(3): The class action is superior to other available

27   methods for fairly and efficiently adjudicating this controversy because individual litigation of Class

28   members’ claims would be impracticable and individual litigation would be unduly burdensome to

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 1   the courts. Without the class action vehicle, the Class would have no reasonable remedy and would

 2   continue to suffer losses. Further, individual litigation has the potential to result in inconsistent or

 3   contradictory judgments. There is no foreseeable difficulty in managing this action as a class action

 4   and it provides the benefits of single adjudication, economies of scale, and comprehensive supervision

 5   by a single court.

 6                                      FIRST CAUSE OF ACTION

 7            Failure to Pay All Wages at Legally Sufficient Rates (Base Rate Calculations)

 8                          [Cal. Labor Code §§ 245-249, 226.7, 227.3, 510, 512]

 9          54.    Plaintiffs re-allege and incorporate by reference each and every allegation contained
10   in the preceding and subsequent paragraphs as though fully set forth herein.
11   Failure to Pay Overtime Wages at Legally Sufficient Rates (Labor Code § 510):
12          55.     Labor Code section 510 requires overtime be paid after 8 hours in a day at the rate of
13   no less than one and one-half times the regular rate of pay for an employee. Wage Order 7 at item
14   20 provides for the same requirement.
15          56.    Defendants failed to fully compensate Plaintiffs and other members of the Class for
16   all overtime wages they earned.
17          57.    Specifically, Defendants failed to include the earned commissions when calculating
18   the regular rate of pay in order to calculate overtime compensation

19          58.    Plaintiffs are informed and believe, and thereon allege that the failure of Defendants

20   to fully compensate Plaintiffs and other members of the Class for overtime work was willful,

21   purposeful, and unlawful and done in accordance with the policies and practices of Defendants’

22   operations.

23          59.    As a proximate cause of the aforementioned violations, Plaintiffs and other members

24   of the Class have been damaged in an amount according to proof at time of trial. Plaintiffs and the

25   other members of the Class are entitled to recover the unpaid balance of wages owed, penalties,

26   including penalties available pursuant to California Labor Code §558, plus interest, reasonable

27   attorney fees and costs of suit according to the mandate of California Labor Code §§1194, et seq.

28   Failure to Pay Rest and Meal Period Premium Wages at Legally Sufficient Rates (Labor Code

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 1   §§ 226.7, 512):

 2          60.     Labor Code § 512(a) states, “An employer may not employ an employee for a work

 3   period of more than five hours per day without providing the employee with a meal period of not

 4   less than 30 minutes, except that if the total work period per day of the employee is no more than

 5   six hours, the meal period may be waived by mutual consent of both the employer and employee.

 6   An employer may not employ an employee for a work period of more than 10 hours per day without

 7   providing the employee with a second meal period of not less than 30 minutes except that if the

 8   total hours worked is no more than 12 hours, the second meal period may be waived by mutual

 9   consent of the employer and the employee only if the first meal period was not waived.”
10          61.    Section (A) of the “Meal Period” provision of IWC Wage Order 7 states, “No
11   employer shall employ any person for a work period of more than five (5) hours without a meal
12   period of not less than 30 minutes, except that when a work period of not more than six (6) hours
13   will complete the day’s work the meal period may be waived by mutual consent of the employer
14   and the employee. An employer may not employ an employee for a work period of more than ten
15   (10) hours per day without providing the employee with a second meal period of not less than 30
16   minutes, except that if the total hours worked is no more than 12 hours, the second meal period may
17   be waived by mutual consent of the employer and the employee only if the first meal period was not
18   waived. Unless the employee is relieved of all duty during a 30 minute meal period, the meal

19   period shall be considered and ‘on duty’ meal period and counted as time worked.’” Section (D)

20   states “If an employer fails to provide an employee a meal period in accordance with the applicable

21   provisions of this Order, the employer shall pay the employee one (1) hour of pay at the employee’s

22   regular rate of compensation for each work day that the meal period is not provided.”

23          62.    Labor Code § 226.7 states: “(b) An employer shall not require an employee to work

24   during a meal or rest or recovery period mandated pursuant to an applicable statute, or applicable

25   regulation, standard, or order of the Industrial Welfare Commission, the Occupational Safety and

26   Health Standards Board, or the Division of Occupational Safety and Health.”

27          63.    On July 15, 2021, the California Supreme Court held in Ferra v. Loews Hollywood

28   Hotel, LLC, (2021) 11 Cal. 5th 858, that the term “regular rate of compensation” under § 226.7(c) is

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 1   equivalent to the term “regular rate of pay” under Labor code § 510(a). Accordingly, the meal and

 2   rest break premiums owed must be paid at the same rate as would be required under Labor Code §

 3   510(a). On the rare occasions that Defendants actually paid meal break premiums, those premiums

 4   were only paid at the basic hourly rate and did not account for any commissions paid. Accordingly,

 5   Defendants violated Labor Code § 226.7(c).

 6          64.    Because of the unlawful acts of Defendants, Plaintiffs and other members of the Class

 7   have been deprived of wages and other compensation, which is an amount resulting directly from

 8   the acts complained of. Plaintiffs and the other Class members are entitled to recover one additional

 9   hour of pay at his or her regular rate of compensation for each workday that the meal period was not
10   provided, plus interest thereon and costs of suit in an amount to proven at or following trial of this
11   matter. Lab. Code §226.7(c); the applicable IWC Wage Order, ¶11(B), 8 Cal. Code Regs.
12   §11050(11)(B).
13   Failure to Pay Sick Leave at Legally Sufficient Rates (Cal. Labor Code §§ 245-249):
14          65.    Pursuant to the California Healthy Workplaces Healthy Families Act, ARTICLE 1.5.
15   ‘Paid Sick Days’ [sections §§ 245-249] requires employers to provide paid sick leave to employees.
16   Labor Code § 246(l)(1)-(2) mandates that sick leave be calculated in the same fashion that overtime
17   base rates are calculated for the pay period sick leave is used, or in a 90-day period in which the
18   sick leave is used. In either case, the rate should be calculated by dividing the sum of all wages by

19   total hours. However, Defendants refuse to include all wages earned (including commissions) in the

20   calculations, and instead pays sick leave at the employee’s simple hourly rates. Plaintiffs and other

21   class members are therefore owed compensation for these improperly paid sick time hours.

22          66.    In failing to pay the proper sick leave rate, Defendants also violated the requirement

23   under Labor Code § 246(i) to provide with the employee wage statements the number of hours

24   earned and used at the appropriate and accurate rates.

25   Failure to Pay Vacation Pay at Legally Sufficient Rates (Cal. Labor Code §§ 227.3):

26          67.     Labor Code § 227.3 provides that “Unless otherwise provided by a collective-

27   bargaining agreement, whenever a contract of employment or employer policy provides for paid

28   vacations, and an employee is terminated without having taken off his vested vacation time, all

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 1   vested vacation shall be paid to him as wages at his final rate in accordance with such contract of

 2   employment or employer policy respecting eligibility or time served; provided, however, that an

 3   employment contract or employer policy shall not provide for forfeiture of vested vacation time

 4   upon termination. The Labor Commissioner or a designated representative, in the resolution of any

 5   dispute with regard to vested vacation time, shall apply the principles of equity and fairness.”

 6          68.    Plaintiffs and certain Class members have either resigned from Defendants’ employ

 7   or had their employment terminated by Defendants. At all relevant times, Defendants have had an

 8   established written policy, practice, or agreement to provide paid vacation to their retail store

 9   employees employed in the State of California wherein employees receive additional compensation
10   in the form of vacation time, which they can use to take time off from work with compensation.
11   Upon resignation or termination, Defendants paid Plaintiffs and the other Class members vested
12   vacation time at an hourly rate of pay that was lower than their final regular hourly rates of pay,
13   because Defendants failed to include earned commissions when calculating the regular rate of pay,
14   in violation of Labor Code § 227.3.
15          69.    Plaintiffs and other Class members are entitled to payment of their vested, but unused
16   vacation time compensation at the correct rate upon resignation or termination.
17                                     SECOND CAUSE OF ACTION

18                Failure to Pay all Regular and Overtime Wages (Off-the-Clock Work)

19                            [Cal. Labor Code §§ 200, 204, 510, 1194 & 1198]

20          70.     Plaintiffs re-allege and incorporate by reference each and every allegation contained

21   in the preceding and subsequent paragraphs as though fully set forth herein.

22          71.    Labor Code section 1194(a) states “Notwithstanding any agreement to work for a lesser

23   wage, any employee receiving less than the legal minimum wage or the legal overtime compensation

24   applicable to the employee is entitled to recover in a civil action the unpaid balance of the full amount

25   of this minimum wage or overtime compensation, including interest thereon, reasonable attorney's

26   fees and costs of suit.” Liquidated damages in an amount equal to the wages unlawfully unpaid and

27   interest thereon are provided for under Labor Code section 1194.2.

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 1          72.    Labor Code section 1197 states “The minimum wage for employees fixed by the

 2   commission or by any applicable state or local law, is the minimum wage to be paid to employees,

 3   and the payment of a lower wage than the minimum so fixed is unlawful.”

 4          73.    Labor Code section 1197.1 (a) states “Any employer or other person acting either

 5   individually or as an officer, agent, or employee of another person, who pays or causes to be paid to

 6   any employee a wage less than the minimum fixed by an applicable state or local law, or by an order

 7   of the commission shall be subject to a civil penalty, restitution of wages, liquidated damages payable

 8   to the employee, and any applicable penalties imposed pursuant to Labor Code §203...”

 9          74.     As provided for in Section 1197.1(a)(1), for any initial violation that is intentionally
10   committed, one hundred dollars ($100) for each underpaid employee for each pay period for which
11   the employee is underpaid. For each subsequent violation for the same specific offense, two hundred
12   fifty dollars ($250) for each underpaid employee for each pay period for which the employee is
13   underpaid regardless of whether the initial violation is intentionally committed.
14          75.    Labor Code section 1198 states "The maximum hours of work and the standard
15   conditions of labor fixed by the commission shall be the maximum hours of work and the standard
16   conditions of labor for employees. The employment of any employee for longer hours than those
17   fixed by the order or under conditions of labor prohibited by the order is unlawful."
18          76.    Section (B) of the “Minimum Wages” provision of the applicable IWC Wage Order

19   states “Every employer shall pay to each employee, on the established payday for the period involved,

20   not less than the applicable minimum wage for all hours worked in the payroll period, whether the

21   remuneration is measured by time, piece, commission or otherwise.”

22          77.    As set forth above, Defendants required Plaintiffs and other Class members to work

23   off-the-clock. Plaintiffs and Class members regularly worked more than eight hours a day and more

24   than 40 hours a week, however, Defendants did not compensate Plaintiffs and the Class members for

25   the time spent working for Defendants after they clocked out.

26          78.    As such, Plaintiffs and other Class members are owed wages for those unpaid hours.

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 1          79.     Plaintiffs and other Class members are entitled to recover from Defendants all of such

 2   unpaid regular pay, with pre-judgment interest, and reasonable attorneys’ fees, and costs of suit

 3   pursuant to Labor Code § 1194.

 4                                      THIRD CAUSE OF ACTION

 5                   Failure to Provide Meal Breaks or Compensation in Lieu Thereof

 6                                    [Cal. Labor Code §§ 226.7 & 512]

 7          80.     Plaintiffs re-allege and incorporate by reference each and every allegation contained

 8   in the preceding and subsequent paragraphs as though fully set forth herein.

 9          81.     Pursuant to Labor Code § 512, no employer shall employ any person for a work
10   period in excess of five (5) hours without providing a meal period of at least thirty (30) minutes. See
11   also IWC Wage Order No. 7, item 11. During this meal period of no less than thirty (30) minutes,
12   the employer must completely relinquish any and all control over the employee and the employee
13   must not engage in any work-related activity for the employer. Brinker Restaurant Corp. v.
14   Superior Court (2012) 53 Cal.4th 1004, 1040. If the employee performs any work for the employer
15   during the thirty (30) minute meal period, the employee has not been provided a meal period in
16   accordance with the law. Id. Additionally, California law does not permit an employer to employ an
17   individual for a work period in excess of ten (10) hours without providing a second meal period of
18   at least thirty (30) minutes. Labor Code § 512; IWC Wage Order No. 7, item 11. If the employer

19   fails to provide an employee with a legally compliant meal period, the employer shall pay the

20   employee one additional hour of pay at the employee's regular rate of compensation for each

21   workday that the meal period was not provided. Labor Code § 226.7; IWC Wage Order 7, item 11.

22          82.     Plaintiffs contend that as a policy, practice, guideline and/or procedure, Defendants

23   failed to provide meal breaks to their employees. Specifically, Defendants required workers to stay

24   on duty, answer work calls, help customers and be prepared to interrupt breaks to execute work

25   orders at all times during the day, without any exception for rest or meal breaks. Furthermore, when

26   meal periods were provided, they were often after the end of the fifth hour of work. As such,

27   Plaintiffs and other Class members were not relieved of duty and not provided legally adequate

28   meal breaks.

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 1           83.    Because of the unlawful acts of Defendants, Plaintiffs and the other members of the

 2   Class have been deprived of wages and other compensation, which is an amount resulting directly

 3   from the acts complained of. Plaintiffs and the other Class members are entitled to recover one

 4   additional hour of pay at his or her regular rate of compensation for each workday that the meal

 5   period was not provided, plus interest thereon and costs of suit in an amount to proven at or

 6   following trial of this matter. Lab. Code §226.7(c); the applicable IWC Wage Order, ¶11(B), 8 Cal.

 7   Code Regs. §11050(11)(B).

 8           84.    Plaintiffs and the other members of the Class are also entitled to attorneys’ fees and

 9   costs pursuant to Labor Code § 218.5.
10                                     FOURTH CAUSE OF ACTION

11           Failure to Authorize and Permit Rest Breaks or Compensation in Lieu Thereof

12                                        [Cal. Labor Code § 226.7]

13           85.    Plaintiffs re-allege and incorporate by reference each and every allegation contained

14   in the preceding and subsequent paragraphs as though fully set forth herein.

15           86.    IWC Wage Order 7, item 12 requires employers to authorize and permit off-duty rest

16   periods during which an employee must be relieved of any and all work-related duties. Augustus v.

17   ABM Security Services, Inc. (2016) 2 Cal.5th 257, 269. Additionally, a lawful off-duty rest period is

18   not provided where an employer fails to relinquish control over how employees spend their time. Id.

19   Under Labor Code § 226.7, an employer is required to pay an employee one (1) additional hour of

20   pay at the employee’s regular rate of pay for each workday in which a lawful rest period was not

21   provided. See also IWC Wage Order 7.

22           87.    As set forth above, Defendants consistently required Plaintiffs and other Class

23   members to work through rest periods. As such, employees were not relieved of all duty on their

24   scheduled breaks. For these reasons, Plaintiffs and other Class members have and are being denied

25   legally sufficient rest breaks.

26           88.    Because of the unlawful acts of Defendants, Plaintiffs and the Class have been

27   deprived of wages, which is an amount resulting directly from the acts complained of. Plaintiffs and

28   other members of the Class are entitled to recover one additional hour of pay at his or her regular

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 1   rate of compensation for each workday that the rest period was not permitted, plus interest thereon

 2   and costs of suit in an amount to be proven at or following trial of this matter. The applicable IWC

 3   Wage Order, ¶12(B), 8 Cal. Code Regs. §11050(12)(B).

 4          89.    Plaintiffs and the other members of the Class are also entitled to attorneys’ fees and

 5   costs pursuant to Labor Code § 218.5.

 6                                      FIFTH CAUSE OF ACTION

 7                                     Failure to Reimburse Expenses

 8                                        [Cal. Labor Code § 2802]

 9          90.     Plaintiffs re-allege and incorporate by reference each and every allegation contained
10   in the preceding and subsequent paragraphs as though fully set forth herein.
11          91.    Labor Code section 2802(a) provides in pertinent part, “[a]n employer shall indemnify
12   his or her employee for all necessary expenditures or losses incurred by the employee in direct
13   consequence of the discharge of his or her duties, or of his or her obedience to the directions of the
14   employer.”
15          92.    Labor Code section 2802(b) states, “[a]ll awards made by a court or by the Division of
16   Labor Standards Enforcement for reimbursement of necessary expenditures under this section shall
17   carry interest at the same rate as judgments in civil actions. Interest shall accrue from the date on
18   which the employee incurred the necessary expenditure or loss.”

19          93.    Furthermore, Labor Code section 2802(c) states “[f]or purposes of this section, the term

20   ‘necessary expenditures or losses’ shall include all reasonable costs, including, but not limited to,

21   attorney’s fees incurred by the employee enforcing the rights granted by this section.”

22          94.    Defendants required Plaintiffs and other Class members to download apps on and use

23   their personal cell phones to communicate with customers. Plaintiffs and other Class members were

24   not reimbursed for this necessary expense which was required for the benefit of their employer.

25          95.    Defendants did not compensate Plaintiffs and Class members for these costs incurred

26   in the discharge of their duties and they are entitled to recover these expenses. Plaintiffs and other

27   Class members also seek recovery of interest, attorney's fees and costs to the extent allowed by law.

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 1                                       SIXTH CAUSE OF ACTION

 2                              Failure to Provide Accurate Wage Statements

 3                                          [Cal. Labor Code § 226]

 4          96.    Plaintiffs re-allege and incorporate by reference each and every allegation contained

 5   in the preceding and subsequent paragraphs as though fully set forth herein.

 6          97.    Labor Code § 226(a) states in pertinent part that every employer shall provide an

 7   accurate itemized statement in writing with respect to each one of its employees showing: 1) gross

 8   wages earned; 2) total hours worked by an employee, except for any employee whose compensation

 9   is solely based on a salary and who is exempt from payment of overtime under subdivision (a) of
10   Section 515 or any applicable order of the Industrial Welfare Commission; (3) the number of piece
11   rate units earned and any applicable piece rate if the employee is paid on a piece-rate basis; (4) all
12   deductions, provided that all deductions made on written orders of the employee may be aggregated
13   and shown as one item; (5) net wages earned; (6) the inclusive dates of the period for which the
14   employee is paid; (7) the name of the employee and the last four digits of his or her social security
15   number or an employee identification number other than a social security number; (8) the name and
16   address of the legal entity that is the employer...; and (9) all applicable hourly rates in effect during
17   the pay period and the corresponding number of hours worked at each hourly rate by the employee.
18          98.    Labor Code § 226.3 provides that “Any employer who violates subdivision (a) of

19   Section 226 shall be subject to a civil penalty in the amount of two hundred fifty dollars ($250) per

20   employee per violation in an initial citation and one thousand dollars·($1,000) per employee for

21   each violation in a subsequent citation for which the employer fails to provide the employee a wage

22   deduction statement or fails to keep the records required in subdivision (a) of Section 226.”

23          99.    In addition, Labor Code § 226(e) imposes a penalty of the greater of all actual

24   damages or $50 for the initial pay period in which a violation occurs and $100 per employee for

25   each violation in a subsequent pay period, not exceeding an aggregate penalty of $4,000, and

26   Plaintiff is entitled to an award of costs and reasonable attorney's fees.

27          100. Section (B) of the “Records” provision of the applicable IWC Wage Order states that

28   “Every employer shall semimonthly or at the time of each payment of wages furnish each

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 1   employee, either as a detachable part of the check, draft, or voucher paying the employee’s wages,

 2   or separately, an itemized statement in writing showing: (1) all deductions; (2) the inclusive dates of

 3   the period for which the employee is paid; (3) the name of the employee or the employee’s social

 4   security number; and ( 4) the name of the employer, provided all deductions made on written orders

 5   of the employee may be aggregated and shown as one item.”

 6          101. Labor Code § 1174(d) provides that an employer must keep, at a central location in

 7   the state or at the plants or establishments at which employees are employed, payroll records

 8   showing the hours worked daily by and the wages paid to, employees employed at the respective

 9   establishments. These records shall be kept on file for not less than three years. Labor Code §
10   1174.5 provides for a civil penalty of five hundred dollars ($500) for an employer who willfully
11   fails to maintain the records pursuant to Labor Code section l 174(d).
12          102. Sections (7)(A)( 4) and (5) of the “Records" provision of the applicable IWC Wage
13   Order provides that employers shall keep accurate information with respect to each employee,
14   including total wages paid each payroll period, total hours worked during the payroll period, and
15   applicable rates of pay, as well as time records showing when each employee begins and ends each
16   work period. The time records must also show meal periods, split shift intervals, and total daily
17   hours worked.
18          103. Defendants failed to maintain records as set forth in § 1174 of the Labor Code and the

19   “Records” section of IWC Wage Order 7 including but not limited to, accurately recording

20   applicable rates of pay. Due to Defendants not paying at the proper legal rates, not paying for all

21   hours worked and not paying meal and rest period premiums, Defendants do not record proper

22   hours and wages, and do not provide legally compliant wage statements accurately accounting for

23   hours, wages, deductions, etc.

24          104. In addition, on those wage statements that included commission payments, the

25   commissions were only itemized by type of commission earned and the amount. Not included in the

26   wage statements are the total amount sold during the pay period, or the percentage earned per sale.

27   As a result, Plaintiffs and Class members could not determine the basis of their commission

28   payments by looking at the face of their wage statements, as required by Labor Code § 226(a).

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 1          105. Labor Code §§226(e) and (h) provide for the remedy for wage statement violations:

 2                        (e) An employee suffering injury as a result of a knowing and

 3          intentional failure by an employer to comply with subdivision (a) is entitled to

 4          recover the greater of all actual damages or fifty dollars ($50) for the initial pay

 5          period in which a violation occurs and one hundred dollars ($100) per employee for

 6          each violation in a subsequent pay period, not exceeding an aggregate penalty of four

 7          thousand dollars ($4,000), and is entitled to an award of costs and reasonable

 8          attorney’s fees.

 9                  (h) An employee may also bring an action for injunctive relief to ensure
10          compliance with this section, and is entitled to an award of costs and reasonable
11          attorney’s fees.
12          106. By knowingly and intentionally failing to keep accurate time records as required by
13   Labor Code §§226, 1174(d), and the applicable IWC Wage Order, ¶7, 8 Cal. Code Regs. §11050(7),
14   Defendants have injured Plaintiffs and the other members of the Class and made it difficult to
15   calculate the unpaid wages owed, and losses and expenditures not indemnified by Defendants
16   (including wages, interest and penalties thereon) due Plaintiffs and the Class.
17          107. Because of Defendants’ unlawful acts, Plaintiffs and the Class are entitled to bring
18   this action to recover damages, ensure compliance and recover costs and reasonable attorneys’ fees.

19   Lab. Code §226(e)-(h).

20                                    SEVENTH CAUSE OF ACTION

21                             Failure to Pay All Wages Due Upon Termination

22                                      [Cal. Labor Code §§ 201-203]

23          108. Plaintiffs re-allege and incorporate by reference each and every allegation contained

24   in the preceding and subsequent paragraphs as though fully set forth herein.

25          109. Labor Code § 201 states “If an employer discharges an employee, the wages earned

26   and unpaid at the time of discharge are due and payable immediately.”

27          110. Labor Code § 202 states “If an employee not having a written contract for a definite

28   period quits his or her employment, his or her wages shall become due and payable not later than 72

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 1   hours thereafter, unless the employee has given 72 hours previous notice of his or her intention to

 2   quit, in which case the employee is entitled to his or her wages at the time of quitting.”

 3          111. Labor Code § 203(a) states, in relevant part; “If an employer willfully fails to pay,

 4   without abatement or reduction, in accordance with Sections 201, 201.3, 201.5, 202, and 205.5, any

 5   wages of an employee who is discharged or who quits, the wages of the employee shall continue as

 6   a penalty from the due date thereof at the same rate until paid or until an action therefore is

 7   commenced; but the wages shall not continue for more than 30 days.”

 8          112. Labor Code § 204(a) states in pertinent part “All wages... earned by any person in any

 9   employment are due and payable twice during each calendar month, on days designated in advance
10   by the employer as the regular paydays.”
11          113. Due to Defendants not paying correct legal rates as alleged above, Defendants do not
12   pay all wages. In addition, Defendants fail to pay meal and rest break premiums. Defendants failed
13   to pay Plaintiffs all minimum, regular, overtime, and meal and rest period wages due and owing
14   during and upon termination of employment. Defendants willfully failed to pay all wages when
15   required by §§ 201 and 202 of the Labor Code. Therefore, Defendants owe waiting time penalties to
16   all affected employees including Plaintiffs.
17          114. Defendants failed to pay earned wages to Plaintiffs and members of the Class upon
18   their termination and/or within 72 hours of the last day of their employment with Defendants. More

19   than 30 days have passed since Plaintiffs and members of the Class have been terminated and/or

20   quit Defendants’ employ.

21          115. Because of Defendants’ willful conduct in not paying all wages due upon discharge

22   and/or resignation of employment, Plaintiffs and the other members of the Class are entitled to 30-

23   days’ wages as a penalty under Labor Code §203, plus interest thereon. Pursuant to Labor Code

24   §218.5, Plaintiffs and the other members of the Class are also entitled to attorneys’ fees and costs.

25                                     EIGHTH CAUSE OF ACTION

26                                Violation of the Unfair Competition Law

27                              [Business & Professions Code § 17200 et seq.]

28          116. Plaintiffs re-allege and incorporate by reference each and every allegation contained

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 1   in the preceding and subsequent paragraphs as though fully set forth herein.

 2          117. Defendants engaged in unlawful activity prohibited by Bus. & Prof. Code §17200, et

 3   seq. The actions of Defendants as alleged within this Complaint constitute unlawful and unfair

 4   business practices with the meaning of Bus. & Prof. Code §§17200, et seq.

 5          118. Defendants have conducted the following unlawful activities:

 6              a) violations of Labor Code §§ 245-249, 226.7, 227.3, 510, 512, by failing to pay

 7   Plaintiffs and the Class vacation pay, sick pay, overtime pay, meal period premiums and rest break

 8   premiums at the correct legal rate

 9              b) violations of Labor Code §§ 200, 204, 510, 1194 & 1198 by requiring Plaintiffs and
10   the Class to work off-the-clock and not paying them minimum and overtime wages for those hours
11   worked.
12              c) violations of Labor Code §§512 and 226.7, and the applicable IWC Wage Order,
13   ¶11, 8 Cal. Code Regs. §11050(11), by failing to provide and/or precluding Plaintiffs and the Class
14   from taking a 30-minute restrictive-free meal period after working more than five hours per day and
15   by failing to provide one hour of pay at Plaintiffs’ and the Class’s regular rates of compensation for
16   each work day that the meal periods were not provided;
17              d) violations of Labor Code §226.7 and the applicable Wage Order ¶12, 8 Cal. Code
18   Regs §11050(12), by failing to provide and/or precluding Plaintiffs and the Class rest periods and

19   by failing to provide one hour of pay at Plaintiffs’ and the Class’s regular rates of compensation for

20   each work day that the rest periods were not provided;

21              e) violations of Labor Code §§226, 1174, 1174.5, and the applicable IWC Wage Order,

22   ¶7, 8 Cal. Code Regs. §11050(7)(A)(3), (4), by failing to maintain and provide Plaintiffs and the

23   Class with accurate payroll and time records;

24              f) violations of Labor Code §204 by failing to timely pay all earned wages to Plaintiffs

25   and the Class;

26              g) violations of Labor Code §§201, 202, and 203 by failing to pay earned wages to

27   Plaintiffs and the Class upon their termination and/or within 72 hours of the last day of their

28   employment with Defendants;

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 1               h) And/or any other violations of applicable law and/or unfair and/or fraudulent

 2   practices arising from the allegations stated herein.

 3           119. Defendants’ activities also constitute unfair practices in violation of Bus. & Prof.

 4   Code §§17200, et seq., because Defendants’ practices violate the above noted laws, and/or violate

 5   an established public policy, and/or the practice is immoral, unethical, oppressive, unscrupulous,

 6   and substantially injurious to Plaintiffs and the Class.

 7           120. The identified violations of the Labor Code, Wage Order, Regulations, laws, and

 8   public policy constitute business practices because they were done repeatedly over time and in a

 9   systematic manner to the detriment of Plaintiffs and the Class
10           121. Because of Defendants’ violations of the Labor Code, Wage Order, Regulations, laws,
11   and public policy, Plaintiffs and the Class have suffered injury-in-fact and have lost money or
12   property because of Defendants’ practices. This injury-in-fact and loss of money or property
13   consists of the lost wages and other restitutionary remedies provided by the Labor Code,
14   Regulations, Wage Order, laws and public policy as detailed in this Complaint and other resulting
15   harms. Plaintiffs and the Class are entitled to restitution, an injunction, declaratory, and other
16   equitable relief against such unlawful practices to prevent future damage for which there is no
17   adequate remedy at law.
18           122. As a direct and proximate result of the unfair business practices of Defendants,

19   Plaintiffs and the Class are entitled to equitable and injunctive relief, including full restitution of all

20   wages which have been unlawfully lost as a result of the business acts and practices described

21   herein and enjoining Defendants to cease and desist from engaging in the practices described herein

22   for the maximum time permitted pursuant to Bus. & Prof. Code §17208, including any tolling.

23           123. The unlawful and unfair conduct alleged herein is continuing. Plaintiffs believe and

24   allege that if Defendants are not enjoined from the conduct set forth in this Complaint, it will

25   continue to violate the noted laws.

26           124. Plaintiffs and the Class are also entitled to and hereby claim attorneys’ fees and costs,

27   pursuant to the private attorney general theory doctrine (Code of Civil Procedure §1021.5), and any

28   other applicable provision for attorney fees and costs, based upon the violation of the underlying

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 1   public policies.

 2                                             PRAYER FOR RELIEF

 3          WHEREFORE, Plaintiffs pray for judgment as follows:

 4          1.      That the Court certify this action as a Class Action under Rule 23(a) and (b)(3) and

 5                  appoint Plaintiffs as representatives of the Class and their attorneys as Class

 6                  Counsel;

 7          2.      For nominal, actual, exemplary and compensatory damages, including lost wages,

 8                  according to proof at trial;

 9          3.      For restitution of all monies, wages, expenses, and costs due to Plaintiffs and the
10                  Class;
11          4.      For liquidated damages under Labor Code § 1194.2;
12          5.      For reasonable attorneys’ fees, costs and expenses pursuant to Labor Code §§ 218.5,
13                  226 and Code of Civil Procedure § 1021.5;
14          6.      For pre-judgment and post-judgment interest, to the extent allowable by law;
15          7.      For all applicable penalties, whether civil or statutory, recoverable under Labor Code
16                  §§203, 226, 558, and as otherwise authorized by statute or law;
17          8.      For an injunction restraining Defendants from continuing to engage in unlawful and
18                  unfair business practices in violation of Bus. & Prof. Code §17200, et seq.;

19          9.      For any other appropriate declaratory relief;

20          10.     For all such other and further relief as the Court deems proper and just under all the

21                  circumstances.

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 1                                     DEMAND FOR JURY TRIAL

 2         Plaintiffs demand a trial by jury for all claims so triable.

 3

 4   DATED: August 16, 2022                                BEN TRAVIS LAW, APC
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 6                                                         HEWGILL COBB & LOCKARD, APC

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10
                                                           Justin Hewgill, Esq.
11                                                         Attorneys for Plaintiffs

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